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                    IN THE UNITED STATE DISTRICT COURT FOR
                          THE DISTRICT OF NEW JERSEY

 In re:
                                                   Chapter 11
 NATIONAL REALTY INVESTMENT
 ADVISORS, LLC,                                    Case No. 22-14539 (JKS)
                     Debtor.



 AIRN LIQUIDATION TRUST CO., LLC,
                                                   Case No. 2:24-cv-10144-CCC
                              Appellant,
                                                   Honorable Claire C. Cecchi
 v.

 MEDIA EFFECTIVE, LLC,

                              Appellee.


                      NOTICE OF MOTION FOR AN ORDER
              ADMITTING ANECA E. LASLEY TO APPEAR PRO HAC VICE

TO:       PARTIES ON THE COURT’S ELECTRONIC MAIL NOTICE LIST

          PLEASE TAKE NOTICE that on ____________________ 2024, at ____________ a.m.,

AIRN Liquidation Trust Co., LLC, in its capacity as the Liquidation Trustee of the AIRN

Liquidation Trust (the “Appellant” or the “Liquidation Trustee”), appointed pursuant to the First

Amended Joint Chapter 11 Plan of Liquidation of National Realty Investment Advisors, LLC and

its Affiliated Debtors (as amended and supplemented, the “Plan”) [Case No. 22-14539, Docket

No. 3256] shall apply, pursuant Local Civil Rule 101.1(c), before the Honorable Judge Claire C.

Cecchi, United States District Court for the District of New Jersey, at the Martin Luther King

Building & U.S. Courthouse 50 Walnut Street, Newark, NJ 07101, for entry of an Order admitting

Aneca E. Lasley, Esq., of the law firm Ice Miller LLP, counsel for Appellant in this proceeding,

Pro Hac Vice on behalf of Appellant in the pending matter.



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       PLEASE TAKE FURTHER NOTICE that in support of this Motion, Appellant will rely

upon the declaration of Louis T. DeLucia submitted herewith.

       PLEASE TAKE FURTHER NOTICE that Appellant does not request the opportunity

to present oral argument in support of this Motion.

       PLEASE TAKE FURTHER NOTICE that a proposed order granting the relief requested

is submitted herewith.

Dated: December 5, 2024                      ICE MILLER LLP


                                             /s/ Louis T. DeLucia
                                             Louis T. DeLucia
                                             Alyson M. Fiedler
                                             1500 Broadway, Suite 2900
                                             New York, NY 10036
                                             Phone: (212) 835-6312
                                             louis.delucia@icemiller.com
                                             alyson.fiedler@icemiller.com

                                             Counsel to Plaintiff/Appellant AIRN Liquidation
                                             Trust Co., LLC, in its capacity as Liquidation
                                             Trustee of the AIRN Liquidation Trust




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                       IN THE UNITED STATE DISTRICT COURT FOR
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 In re:
                                                     Chapter 11
 NATIONAL REALTY INVESTMENT
 ADVISORS, LLC,                                      Case No. 22-14539 (JKS)
                     Debtor.



 AIRN LIQUIDATION TRUST CO., LLC,
                                                     Case No. 2:24-cv-10144-CCC
                                  Appellant,
                                                     Honorable Claire C. Cecchi
 v.

 MEDIA EFFECTIVE, LLC,

                                  Appellee.



           DECLARATION OF ANECA E. LASLEY IN SUPPORT OF MOTION
      FOR AN ORDER ADMITTING ANECA E. LASLEY TO APPEAR PRO HAC VICE

          I, Aneca E. Lasley, of full age, hereby certify as follows:

          1.     I am a partner with the law firm of Ice Miller LLP, 250 West Street, Suite 700,

Columbus, OH 43215-7509.

          2.     I make this Declaration in connection with my Motion to be admitted pro hac vice

in the above captioned civil case to represent AIRN Liquidation Trust Co., LLC, in its capacity as

the Liquidation Trustee of the AIRN Liquidation Trust (the “Appellant” or the “Liquidation

Trustee”), appointed pursuant to the First Amended Joint Chapter 11 Plan of Liquidation of

National Realty Investment Advisors, LLC and its Affiliated Debtors (as amended and

supplemented, the “Plan”) [Case No. 22-14539, Docket No. 3256].
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         3.    I am a member in good standing of the bar of Ohio State Court and have been since

2000. The roll of attorneys for Ohio State Court is maintained at 65 South Front Street, Columbus,

Ohio 43215.

         4.    I am a member in good standing of the bar of the United States District Court for

the Southern District of Ohio since 2003. The roll of attorneys for the United States District Court

for the Southern District of Ohio is maintained at Robert C. Byrd U.S. Courthouse, 100 East 5th

Street, Room 103, Cincinnati, OH 45202.

         5.    I am a member in good standing of the bar of the United States District Court for

the Northern District of Ohio since 2009. The roll of attorneys for the United States District Court

for the Northern District of Ohio is maintained at 201 Superior Avenue, Cleveland, OH 44114.

         6.    I am a member in good standing of the bar of the United States District Court for

the District of Colorado since 2007. The roll of attorneys for the United States District Court for

the District of Colorado is maintained at 901 19th Street, Denver, CO 80294-3589.

         7.    I am a member in good standing of the bar of the United States Court of Appeals

for the Third Circuit and have been since 2020. The roll of attorneys for the United States Court

of Appeals for the Third Circuit is maintained at 601 Market Street, Philadelphia, Pennsylvania

19106.

         8.    I am a member in good standing of the bar of the United States Court of Appeals

for the Sixth Circuit and have been since 2011. The roll of attorneys for the United States Court

of Appeals for the Sixth Circuit is maintained at 100 East Fifth Street, Cincinnati, Ohio 45202.

          9.   I am a member in good standing of the bar of the United States Supreme Court and

 have been since 2009. The roll of attorneys for the United States Supreme Court is maintained at

 1 First Street, NE, Washington, D.C. 20543.




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       10.     I am not under suspension or disbarment by any court.

       11.     I have no disciplinary proceeding pending against me in any jurisdiction and no

discipline has previously been imposed on me in any jurisdiction.

       12.     I have been advised of my obligation to make payments of an annual fee to the New

Jersey Lawyers’ Fund For Client Protection in accordance with New Jersey Court Rule 1:28-2,

and have already satisfied that payment for 2024 in connection with my admission pro hac vice

before the U.S. Bankruptcy Court for the District of New Jersey in the related bankruptcy case, In

re: National Realty Investment Advisors, LLC, Case No. 22-14539 (JKS).

       13.     I have familiarized myself with the Local Rules promulgated by this Court and will

at all times conduct myself in accordance with such Rules during the conduct of this case.

       14.     I understand that if I am admitted pro hac vice to this Court, I am within its

disciplinary jurisdiction, and I voluntarily consent to the same and certify that I will abide with all

rules, regulations and orders of this Court.

       I declare under penalty of perjury that the foregoing is true and correct.

Dated: December 5, 2024

                                               /s/ Aneca E. Lasley
                                               Aneca E. Lasley




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                       IN THE UNITED STATE DISTRICT COURT FOR
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 In re:
                                                     Chapter 11
 NATIONAL REALTY INVESTMENT
 ADVISORS, LLC,                                      Case No. 22-14539 (JKS)
                     Debtor.



 AIRN LIQUIDATION TRUST CO., LLC,
                                                     Case No. 2:24-cv-10144-CCC
                                  Appellant,
                                                     Honorable Claire C. Cecchi
 v.

 MEDIA EFFECTIVE, LLC,

                                  Appellee.


          DECLARATION OF LOUIS T. DELUCIA IN SUPPORT OF MOTION
      FOR AN ORDER ADMITTING ANECA E. LASLEY TO APPEAR PRO HAC VICE

          I, Louis T. DeLucia, of full age, hereby certify as follows:

          1.     I am a partner with the law firm of Ice Miller LLP, 1500 Broadway, Suite 2900,

      New York, New York 10036.

          2.     I have been a member in good standing of the bar of the State of New Jersey since

1986 and a member in good standing of the bar of the United States District Court for the District

of New Jersey since 1986.

          3.     I make this Declaration in support of the application of Aneca E. Lasley to practice

before this court pro hac vice in accordance with L. Civ. R. 101.1(c). The facts contained in the

Declaration of Aneca E. Lasley are true and correct to the best of my knowledge, information, and

belief.
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       4.      I am counsel of record in this matter and will work closely with Ms. Lasley. As

counsel of record, I understand that in the event that the Court grants this application, all notices,

orders and pleadings shall be served upon me as local counsel, and I shall notify counsel of their

receipt, and that only an attorney at law of this Court may file papers, enter appearances for parties,

sign stipulations, or sign and receive payments on judgments, decrees, or orders. I further

understand that I will be held responsible for Ms. Lasley and the conduct of this case.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

Dated: December 5, 2024

                                               /s/ Louis T. DeLucia
                                               Louis T. DeLucia




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